Court of Appeals
of the State of Georgia

                                                               ATLANTA, August 26, 2024

The Court of Appeals hereby passes the following order

A25I0009. LYDIE JOSEPH, NP et al v. CINDY STAR BUTTON et al.


     Upon consideration of the Application for Interlocutory Appeal, it is ordered that it be

hereby GRANTED. The Appellant may file a Notice of Appeal within 10 days of the date of

this order. The Clerk of Superior Court is directed to include a copy of this order in the record

transmitted to the Court of Appeals.


LC NUMBERS:

2023CV03526




                                       Court of Appeals of the State of Georgia
                                            Clerk's Office, Atlanta, August 26, 2024.

                                            I certify that the above is a true extract from the minutes
                                       of the Court of Appeals of Georgia.

                                            Witness my signature and the seal of said court hereto
                                       affixed the day and year last above written.

                                                                          , Clerk.
